Case 5:23-cv-00749-FB-HJB Document178 Filed 03/14/25 Page1of2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
NANCY ALANIS, §
§
Plaintiff, §
§
v. § SA-23-CV-749-FB (HJB)
§
U.S. BANK NATIONAL ASSOCIATION, §
et al., §
§
§
Defendants. §

ORDER STRIKING RESPONSE
Before the Court is Plaintiff’s response to the Court’s February 25, 2025 Show Cause
Order. (Docket Entry 177.) In that order, the Court clearly admonished Plaintiff as follows:
Accordingly, on or before March 10, 2025, Plaintiff must SHOW CAUSE why
her claims against Mackie Wolf should not be dismissed without prejudice for lack
of service. Plaintiff’s response, including attachments, shall not exceed 10 pages—

using 12 point, double spaced, Times New Roman font. Any response that fails
to strictly comply with this Order will be stricken.

(Docket Entry 174, at 2-3.) And yet, Plaintiff’s response consists of 16 single-spaced pages. (See
Docket Entry 177, at 1-16.)

This is not the first time Plaintiff has used font spacing to circumvent the Court’s orders
regarding page limits. (Compare Docket Entry 81, at 3 with Docket Entry 94 at 26.) Such court-
ordered limitations have proved necessary in this case to reign in Plaintiffs voluminous filings.
(See, e.g., Docket Entries 1-3, 32, 32-1, 42, 68, 91, and 95.) Thus, the Court expressly warned her
that such continued contumacy in her response to the February 25, 2025 Show Cause Order would
result in the response’s being stricken. (Docket Entry 174, at 2-3.) That warning fell on deaf ears.

In accordance with the Court’s Show Cause Order, Plaintiff’s response (177) is hereby

STRICKEN. Plaintiff must respond to the Court’s Show Cause Order, meeting the page and
Case 5:23-cv-00749-FB-HJB Document178 _ Filed 03/14/25 Page 2of2

spacing requirements, on or before March 27, 2025. Failure to comply a second time will subject
Plaintiff’s claims against Mackie Wolf to dismissal for failure of timely service, see FED. R. Clv.

P. 4(m), and failure to comply with Court orders, see FED. R. Civ. P. 41(b).

H
he States Magistrate Judge

Itis so ORDERED.

SIGNED on March 14, 2025.

